EXHIBIT A
                  Appointment of Jeremy Lewin as an Officer



By virtue of the authority vested in the Administrator of USA!D by the laws
of the United States, including 5 U.S.C. §§ 301, 2104, 2105 and 3101, and
Section 625(a) of the Foreign Assistance Act, I hereby appoint Jeremy Lewin
as an officer of the United States.




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Date                                     Marco Rubio
                                         Acting Administrator
U.S. Agency for International Development
Delegation pf Authority No.



                         Delegation of Authority
 Authorities of the Deputy Administrator for Management and Resources
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      By virtue of the authority vested In the Administrator of the U.S. Agency
for International Development by the laws of the United States, Including
section 621(a) of the Foreign Assistance Act, I herbby delegate to Kenneth
S. Jackson, to the extent authorized by law, all authorities vested In or
delegated to the Deputy Administrator for Management and Resources,
enumerated in Automated Directives System (ADS) 103.3.4.1.

     The Administrator may exercise any function or authority delegated
herein. The authorities delegated herein may be re-delegated, to the extent
authorized by law. This delegation of authority rescinds the relevant
portions of Delegation of Authority dated February 2, 2025,to Peter
Marocco, but does not modify any other delegation of authority currently In
effect.

     This delegation will expire as to each authority upon the entry upon
duty of a subsequently appointed principal to serve in the respective
position, unless sooner revoked.



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Date' .                                         Marco Rublo
                                                Acting Administrator
U.S. Agency for International Development
Delegation of Authority No.



                          Delegation of Authority
   Authorities of the Deputy Administrator for Policy and Programming
              ,         and Chief Operating Officer          i

      By virtue of the authority vested in the Administrator of the U.S. Agency
for International Development by the laws of the United States, including
section 621(a) of the Foreign Assistance Act, I hereby delegate to Jeremy
Lewin, to the extent authorized by law, all authorities vested in or delegated
to the Deputy Administrator for Policy and Programming and the Chief
Operating Officer, enumerated in Automated Directives System (ADS)
103.3.4.2 and 103.3.4.3.

     The Administrator may exercise any function or authority delegated
herein. The authorities delegated herein may be re-delegated, to the extent
authorized by law. This delegation of authority rescinds the relevant
portions of Delegation of Authority dated February 2, 2025,to Peter
Marocco, but does not modify any other delegation of authority currently in
effect.

     This delegation will expire as to each authority upon the entry upon
duty of a subsequently appointed principal to serve in the respective
position, unless sooner revoked.




                                                Marco Rubio
                                                Acting Administrator
              Appointment of Kenneth S. Jackson as an Officer



By virtue of the authority vested in the Administrator of USAID by the laws
of the United States, including 5 U.S.C. §§ 301, 2104, 2105 and 3101, and
Section 625(a) of the Foreign Assistance Act, 1 hereby appoint Kenneth S.
Jackson as an officer of the United States.




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Date                                      Marco Rubio
                                          Acting Administrator
